                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :
                                         :     CASE NO. 4:24-CR-130
              v.                         :
                                         :     (C.J. BRANN)
ANGELO PEREYRA,                          :
        Defendant                        :

           GOVERNMENT’S SENTENCING MEMORANDUM

  I.     INTRODUCTION

       Defendant Angelo Pereyra trafficked in human parts he stole from

the hospital where he worked, most egregiously the bodies of babies

who had died during childbirth, and whose parents entrusted the

hospital to lay to rest properly. Pereyra’s conduct shocks the

conscience. The Sentencing Guidelines simply do not account for the

egregiousness of this type of crime, and the range they yield in

Pereyra’s case is insufficient to establish a just sentence.

       Accordingly, the United States respectfully recommends that the

Court depart or vary upward from the Guidelines range and impose a

sentence of imprisonment of 60 months.




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II.   FACTUAL AND PROCEDURAL BACKGROUND

      Angelo Pereyra was employed by Wesley Hospital in Wichita,

Kansas, in the Pathology Department. Andrew Ensanian was a

resident of Montgomery, Pennsylvania, in Lycoming County, in the

Middle District of Pennsylvania. PSR ¶ 8. The two met through eBay

and communicated via Facebook Messenger. Between May 2018 and

July 2022, Pereyra stole human remains from his employer hospital

and sold them to Ensanian. PSR ¶ 9. Pereyra shipped the human parts

and fetal corpses via U.S. Post, and payment was sent electronically via

PayPal. Ensanian purchased numerous so-called “wet specimens” from

Pereyra. Facebook communications establish that Pereyra sold

multiple fetal corpses to Ensanian, as well as a partial foot, a human

heart, slices of liver, brain, and kidneys, a spleen, a foot, intestine

pieces, a testicle, a jar of toes, skin, and fat, dried toes, and

miscellaneous other organs. PSR¶ 10, 11. The transactions totaled

over $5,000 in the aggregate.

      On May 15, 2024, an Information was filed, charging Pereyra with

Interstate Transportation of Stolen Goods in violation of 18 U.S.C.

§ 2314. (Doc. 1).
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       On June 24, 2024, Pereyra pled guilty to the Information pursuant

to a plea agreement with the government. Pereyra stipulated that the

offense involved a loss of $6,500 to $15,000 and agreed to make full

restitution. PSR ¶ 2.



III.   PROCEDURE

       Pursuant to United States v. Booker, 543 U.S. 220 (2005), which

rendered the United States Sentencing Commission Guidelines Manual

(“USSG”) advisory, the Court of Appeals set forth a three-step process

when imposing a sentence:

       1. Courts must continue to calculate a defendant’s USSG

         sentence, regardless of Booker;

       2. In doing so, they must formally rule on the motions of both

         parties, state on the record whether the Court is granting a

         departure and how that departure affects the USSG

         calculation, and consider pre-Booker case law, which continues

         to have advisory force; and

       3. Courts are required to exercise their discretion by considering

         the relevant factors set forth in Title 18, United States Code,
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          Section 3553(a), when imposing a sentence, regardless of

          whether it varies from the sentence calculated under the

          USSG.

United States v. Gunter, 462 F.3d 237, 247 (3d Cir. 2006).

     Each of these steps is addressed below.

     A. Sentencing Guidelines Calculation

     The government agrees with the guidelines calculation in the final

Presentence Report. (Doc. 31). The defendant has filed no objections to

the PSR. The government further agrees with the PSR’s

recommendation that the unusually heinous nature of Pereyra’s

offenses warrant consideration of upward departure pursuant to USSG

§§ 5K2.0 and 5K2.8. PSR ¶¶ 69, 70. As discussed more fully below, the

government asks this Court to depart or vary above the otherwise

applicable guidelines range and impose a term of imprisonment of 60

months.

     B. The Parties’ Motions

     The government respectfully moves this Court to depart above the

guidelines range pursuant to two enumerated sections of the

Sentencing Guidelines, § 5K2.8 and § 5K2.0. A departure under
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§ 5K2.8 is appropriate because the defendant’s conduct was unusually

heinous, cruel, and degrading. A departure under § 5K2.0 is warranted

because there exist circumstances relevant to determining an

appropriate sentence that the Commission has not identified in the

guidelines. Alternatively, the government requests an upward variance

for the same reasons.

      First, the nature of this crime was especially heinous as compared

to a run-of-the-mill interstate transportation of stolen goods case

typically sentenced under the Guidelines. “Before a departure is

permitted, certain aspects of the case must be found unusual enough

for it to fall outside the heartland of cases in the Guideline. . . .

Whether a given factor is present to a degree not adequately considered

by the Commission, or whether a discouraged factor nonetheless

justifies departure because it is present in some unusual or exceptional

way, are matters determined in large part by comparison with the facts

of other Guideline cases.” United States v. Queensborough, 227 F.3d

149, 162 (3d Cir. 2000), quoting Koon v. United States, 518 U.S. 81, 98

(1996).   See also, United States v. Bull, 828 F.3d 735, 739 (8d Cir.

2016) (upward departure warranted where conduct is “outside the
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heartland” of the typical case of its kind). Nothing in § 2B1.1 accounts

for the theft and sale of stolen human remains. In a “heartland” theft

case, the Court need not address the emotional toll of a victim parent

whose grief over losing a child is compounded by the theft and

exploitation of his mortal remains. Nor do the Guidelines account for

circumstances where the theft and ensuing interstate transportation

violate the human dignity of the deceased.

     The defendant and other individuals involved in the theft and

interstate trade of human remains engaged in conduct far more

egregious than the typical stolen goods case. Indeed, were it not for

their actions in commodifying and profiting from the sale of stolen body

parts, one might be reluctant to classify such remains as “goods” at all.

But these individuals stole dead babies and parts of cadavers and

turned them into “stock,” buying and selling pieces of deceased people,

advertising their dark wares and creating a marketplace for this sick

trade. Thus, it was their own actions in treating human remains as

“goods,” that require us to meet them where their conduct takes us in

order to deliver justice for both the deceased and those who grieve

them.
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     Angelo Pereyra stole people’s dead children and parts of people’s

bodies and sold them. Patients, treated in the hospital that employed

Pereyra, trusted the hospital to treat these specimens properly and

respect their dignity and privacy. Pereyra violated that trust and

abused his position and access for his own profit. Grieving parents,

some still recovering in the hospital upstairs, were exploited when

Pereyra stole the body of their lost babies from the morgue and sold

them. The hospital where Pereyra worked had a practice of burying

babies who died in their care in a religious ceremony. In stealing their

bodies and selling them like chattels, Pereyra robbed them of that

peaceful repose.

     No less a victim are the individuals from whom parts were stolen

and sold. Their organs, tissues, and limbs were harvested for profit and

sold without their consent or the knowledge or permission of their next

of kin. Any patient who lost a child at that Kansas hospital while

Pereyra worked there will never be at peace, forever wondering

whether their baby son or daughter are sitting on someone’s mantle in

a jar. People from whom samples were taken or on whom amputations

were performed never gave Pereyra their permission to sell their parts,
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and would likely be appalled to learn he had done so. But Pereyra did

not keep track of whose parts he stole, so any such patient who passed

through that hospital may have been affected.

     These are not considerations normally present in interstate

transportation cases, nor accounted for in the Guidelines.

     The government is unaware of any other federal theft-related

case—indeed any “basic economic offense,” as the Guidelines term

them—previously prosecuted anywhere in the country that involved the

interstate trafficking of stolen human remains. 1 The virtually

unprecedented nature of this prosecution and the offense conduct here

are strong indicators that the Guidelines have not accounted for all of

the aggravating circumstances present in the instant case. There can




1 The closest analogue the undersigned could find was United States v.

Megan Hess and Shirley Koch, involving the Sunset Mesa Funeral
Home in the District of Colorado. Case no. 20-cr-00098. That case was
fundamentally different from this one in that here the defendants
bought and sold parts and bodies for personal possession and use, and
there was no legitimate purpose for them to have them. In the Sunset
Mesa case, bodies were fraudulently donated for scientific research
without proper authorization from the next of kin, so that the
defendants could collect a broker’s fee. See
https://www.justice.gov/usao-co/pr/sunset-mesa-funeral-home-operators-
sentenced-federal-prison-illegal-body-part-scheme for more details.
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be no question that the cases arising from this investigation fall well

outside the heartland of interstate transportation of stolen goods cases.

“A district court may depart from the Guidelines if it finds that ‘there

exists an aggravating or mitigating circumstance of a kind, or to a

degree, not adequately taken into consideration by the Sentencing

Commission in formulating the guidelines.’” United States v. Prawdzik,

484 Fed. Appx. 717, 722 (3d Cir. 2012), quoting United States v. Stuart,

22 F.3d 76, 82-83 (3d Cir. 1994).

     Accordingly, an upward departure is necessary to arrive at a

sentence sufficient, but not greater than necessary, to effectuate the

goals of federal criminal sentencing.

     C. Assessment of Relevant § 3553(a) Sentencing Factors

     The final step in the sentencing process is for the Court to

consider all applicable factors set forth in Title 18, United States Code,

§ 3553(a) when fashioning an appropriate, individualized sentence.

Here, a sentence of 60 months’ imprisonment would meet the goals of

punishment, deterrence, and potential rehabilitation.




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     The facts discussed above speak to the especially heinous and

egregious nature and circumstances of the offense conduct in this case

as well as certain characteristics of the defendant.

     Also relevant is Pereyra’s criminal history. Though a minor

offense, Pereyra’s one conviction is for Petit Theft, an opportunistic

crime in which he stole something with the intent to sell it online for

profit. PSR ¶ 28. Thus, he shows a pattern of conduct similar to his

crime in this case.

     Pereyra had a good job as a pathology assistant, earning $55,000

per year. PSR ¶ 45. He has a bachelor’s degree, which he earned with

honors. PSR ¶ 43. He has no history of substance abuse. PSR ¶ 39.

He did not need to steal body parts and fetal corpses to make money.

     Given the widespread nature of this offense, the need for

deterrence is paramount. This investigation has uncovered a secretive,

nationwide market for human remains, most of which are stolen. In

this case, positive evidence of the thefts was uncovered, and so the

perpetrators can be held accountable. But most such transactions occur

in the shadows, and the sources of the remains are undisclosed.

Despite knowing that “wet specimens” and fetal corpses cannot be
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obtained legally, the down-market trade cannot be prosecuted as it is in

this case without proof that the items are stolen. Thus, it is vital that,

in a case where the evidence proves conclusively that the remains were

stolen, a message must be sent to this “oddities” community, that the

United States does not tolerate the theft and sale of human remains.

This dark trade must end.

     It is no exaggeration to describe the twisted conduct in this case as

a human rights violation, a desecration of societal norms and long-held

human notions of right and wrong. This practice violates the human

dignity of the deceased and inflicts suffering on their loved ones.

     “The notion that the bodies of the dead and their human remains

deserve respect and a dignified treatment is common to and deeply

embedded within different societal, religious, and cultural traditions.

Legal protections governing the treatment of dead bodies have long

been established within international humanitarian law, international

criminal law, human rights law, and domestic laws. . . . The treatment

of dead bodies is also of concern to international criminal law, which

prohibits the mutilation of the dead. Violation of the bodies of the dead

is increasingly recognized as an element of crime, as an attack on
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personal dignity.” United Nations Office of the High Commissioner for

Human Rights, Special Rapporteur, Apr. 25, 2024. 2

     “The protection of and respect for the dead is something that

makes us human. It’s prevalent, since the beginning of humanity, in all

cultures and religions and is regulated in religious, cultural and social

practices around the world, in national laws and also in International

Humanitarian Law that applies in times of war. The protection of the

bodies and human remains of deceased persons . . . in many cases

affects other rights of the victim and his or her family

members. . . . There are a range of rights that are affected when there is

no access to the body, when the victim’s body is mutilated, destroyed,

when their dignity is not respected.” Tidball-Binz, Morris, “Protecting

and respecting the dead makes us human,” July 5, 2024. 3

     “Death does not erase human dignity, either immediately or

completely. The consequences of certain acts of self-determination reach



2 Available at https://www.ohchr.org/en/calls-for-input/2024/call-input-

protection-dead-persons-and-their-human-remains-including-victims,
last visited Dec. 20, 2024.
3 Available at https://www.ohchr.org/en/stories/2024/07/protecting-and-

respecting-dead-makes-us-human, last visited Dec. 20, 2024.
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beyond death, and command suitable respect. Human rights are rights

accruing to the living; they protect and facilitate life itself. It is only

possible to speak of rights of the dead in the sense that some acquired

legal rights last beyond death, such as the right to be buried. Caring for

the dead in a manner appropriate to human dignity is primarily

significant for the next of kin. Denying this right means that the next of

kin are prevented from making their peace with the loss of an

individual who is close to them. Suitable care for the dead is thus a

right of the living.” German Commission for Justice and Peace, “How

society cares for the dead – a matter of human dignity!” July 2024. 4

      The conduct in this case strikes to the heart of one of the

quintessential human experiences – death and the grieving process.

When humans die, their loved ones frequently find solace in the peace

they hope we find in death. The theft and sale of these remains for

profit is a violation of any notion of peace for the dead and those who

love them, and shatters any sense of security they might have felt in



4 Available at https://www.partner-religion-development.org/wp-

content/uploads/2024/09/How-society-cares-for-the-dead-%E2%80%93-a-
matter-of-human-dignity.pdf, last visited Dec. 20, 2024.
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the belief that their loved ones are treated with dignity and respect in

their final disposition.

      In making its recommendation, the government is mindful of the

relative culpability of all of the defendants who engaged in similar

conduct in the cases related to Pereyra’s. Several aggravating factors

have led the government to assess Pereyra’s culpability as somewhat

higher than the median remains trafficking defendant. Pereyra abused

a position where he was trusted by his employer and the hospital’s

patients, and exploited that trust. And Pereyra stole body parts and

remains, including, most egregiously, stillborn and miscarried fetal

corpses, and sold them for monetary gain. Weighing in his favor is that

he admitted his guilt upon being confronted by the FBI and his

trafficking was limited to a single customer.

      For all of these reasons, the government recommends a term of

imprisonment of 60 months, and a fine to disgorge part or all of the

proceeds of the defendant’s conduct.




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V.   Conclusion

     Accordingly, the United States respectfully requests that the

Court grant an upward departure from the otherwise applicable

Guidelines range and impose a sentence of 60 months’ imprisonment.




December 23, 2024               Respectfully submitted,

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                                       :    (C.J. BRANN)
ANGELO PEREYRA,                        :
        Defendant                      :


                     CERTIFICATE OF SERVICE
      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers. That on this Monday, December 23, 2024,
she served a copy of the attached
         GOVERNMENT’S SENTENCING MEMORANDUM


by electronic means to:
Addressee:
Gregory Watt, Esquire


Dated: December 23, 2024               s/ Terri L. Pendolphi
                                       Terri L. Pendolphi
                                       Legal Administrative Specialist




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